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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ALLIED EMERGENCY SERVICES,          )
INC., An Illinois Corporation,      )
                                    )
              Plaintiff,            )               Case No. 20-CV-06136
                                    )
       v.                           )               The Hon. Jeffrey I. Cummings
                                    )
AMERICAN FAMILY INSURANCE           )
COMPANY, A Property & Casualty      )
Foreign Stock Insurance Company,    )
                                    )
              Defendant.            )
____________________________________)

                                  JOINT STATUS REPORT

       Plaintiff,   ALLIED    EMERGENCY         SERVICES       (“ALLIED”),     and    Defendant,

AMERICAN FAMILY INSURANCE COMPANY (“AMERICAN FAMILY”), have conferred

as required by Rule 26(f), and through their undersigned counsel, jointly submit the following

Joint Status Report as required by the Court’s Order dated January 29, 2021.

1.     This case was removed to this Court from the Nineteenth Judicial Circuit Court in Lake

County, Illinois pursuant to 28 U.S.C. § 1446, 1441(a) and 1332(a). Plaintiff, ALLIED, is an

Illinois corporation doing business in Lake County, Illinois with its principal office located in

Oakbrook, Illinois. Defendant, AMERICAN FAMILY, is a Wisconsin Property & Casualty Stock

Insurance Company with its principal office located in Madison, Wisconsin. ALLIED is an Illinois

corporation and AMERICAN FAMILY is a Wisconsin corporation, the complete diversity

requirement of 28 U.S.C. § 1332(a) is satisfied. ALLIED’s Complaint seeks damages in excess

of the jurisdictional limit, alleges that ALLIED sustained damages in the amount of $106,708.46,




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and seeks Illinois Insurance Code Section 155 damages, reasonable attorney’s fees and additional

costs and expenses.

2.     In Count I of the Complaint, ALLIED alleges that it obtained an assignment of an insurance

claim from AMERICAN FAMILY’s insured, Mr. Matthew Sipolt (“Sipolt”). Plaintiff alleges

AMERICAN FAMILY breached its contract of insurance with Sipolt for failure to pay for

damages to the roof and exterior of Sipolt’s residence at 303 Center St., Ingleside, Illinois allegedly

caused by a June 1, 2019 violent storm which produced large hail and high winds. Count II alleges

that AMERICAN FAMILY violated Section 155 of the Illinois Insurance Code in that

AMERICAN FAMILY’s refusal to pay was vexatious and made in bad faith. In response,

AMERICAN FAMILY filed its answer denying that it breached the insurance policy.

AMERICAN FAMILY filed affirmative defenses alleging that Sipolt accepted payment from

AMERICAN FAMILY in the amount of $11,142.33 in full satisfaction of the actual cash value of

the loss sustained by Sipolt for the damage, precluding ALLIED from seeking any additional

damages. A courtesy copy of the current complaint, answer, counterclaim, etc., should be

delivered to Chambers with the status report.

3.     Plaintiff respectfully prays for judgment against the Defendant in the following amounts:

       A.)       One Hundred-Six-Thousand-Seven-Hundred-Eight Dollars and Fort-Six Cents

($106,708.46);

       B.)       Sixty percent (60%) of the amount in controversy;

       C.)       Reasonable Attorney’s Fees; and

       D.)       All costs and expenses incurred in pursuing Plaintiff’s claim.

4.     There are currently no pending motions.




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5.       This case will require written and fact discovery, including witness depositions. It is

possible expert discovery will be required.


 Event                                                Deadline

 Amendment to the pleadings                           April 30, 2021

 Service of process on any “John Does”                N/A

 Completion of Fact Discovery                         July 30, 2021

 Disclosure of Plaintiff’s Expert Report(s)           August 31, 2021

 Deposition of Plaintiff’s Expert                     September 30, 2021

 Disclosure of Defendant’s Expert Report(s)           October 29, 2021

 Deposition of Defendant’s Expert                     November 30, 2021

 Dispositive Motions                                  December 31, 2021



6.       Parties do not anticipate discovery will include electronically stored information (“ESI”).

7.       The parties have exchanged Rule 26(a)(1) Disclosures and issued written discovery.

8.       Plaintiff did not demand a jury in its Complaint, filed in the Nineteenth Judicial Circuit

Court in Lake County, Illinois on May 11, 2020. Defendant filed a jury demand on October 15,

2020. Plaintiff respectfully prays for judgment against the Defendant in the following amount: One

Hundred-Six-Thousand-Eight Dollars and Forty-Six Cents ($106, 708.46); reasonable attorney’s

fees; and all costs and expenses incurred in pursuing Plaintiff’s claim.

9.       Plaintiff has issued a demand letter for settlement, and Defendant has provided a response

settlement letter with Defendant’s offer.




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Respectfully submitted,

BRUNING & ASSOCIATES, P.C.            LEAHY, EISENBERG & FRAENKEL, LTD.

By: _/s/ Andre Ordeanu_________       By: _/s/ Thomas J. Finn__________________
       Andre Ordeanu                         Thomas J. Finn
       Attorney for Plaintiff                Attorney for Defendant

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